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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

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     In re:                                                Chapter 11

     LTL MANAGEMENT LLC,1                                  Case No.: 23-12825 (MBK)

                             Debtor.                       Honorable Michael B. Kaplan




 1
  The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
 Street, New Brunswick, New Jersey 08933.
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      TCC’S OPPOSITION TO THE DEBTOR’S OMNIBUS MOTION TO COMPEL
    IDENTIFIED PLAINTIFF FIRMS TO SUPPLEMENT CERTAIN RESPONSES TO
     DEBTOR’S INTERROGATORIES AND REQUESTS FOR PRODUCTION AND
   OBJECTION TO THE DEBTOR’S RELATED APPLICATION TO SHORTEN TIME

        The Official Committee of Talc Claimants (“TCC”) in the above-captioned case, by and

 through its proposed counsel, respectfully submits this opposition to the Debtor’s Omnibus Motion

 to Compel Identified Plaintiff Firms to Supplement Certain Responses to Debtor’s Interrogatories

 and Requests for Production (“Motion to Compel”) (Dkt. 638) and Application to Shorten Time

 (Dkt. 639) (“Motion to Shorten Time”, and, collectively, the “Motion”). In support of this

 Opposition and Objection, the TCC respectfully states as follows:

        1.      Without prejudice to any objections that might be filed by the target law firms, the

 TCC independently requests that the Motion be summarily denied.

        2.      At 11:20 p.m. on the night of May 30, 2023, the Debtor filed a new Motion to

 Compel and requested a hearing on it for just two days later. Yet the Motion could have been filed

 weeks ago. The Motion seeks discovery from nine plaintiffs’ law firms. Under the agreed upon

 pre-hearing schedule, adherence to which is critical given the expedited nature of the Motions to

 Dismiss, initial discovery requests were to be served by May 8. The Debtor received responses

 and objections to the requests at issue between May 15 and May 17. Yet it waited two weeks until

 the night of May 30 to file this Motion. Given the expedited circumstances of the Motions to

 Dismiss, that alone warrants denial. But it gets worse.

        3.      The timing the Debtor chose to make its belated Motion just happens to be dead

 smack in the middle of the week of depositions, which have been double and sometimes even triple

 tracked (there were three depositions and a hearing yesterday alone) and as to which nearly all of

 the witnesses are LTL’s or J&J’s. Thus, while the TCC and other counsel are knee deep in




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 preparing to take and taking depositions, the Debtor filed its Motion late at night and requested

 that the hearing take place just two days later. And still there is more.

        4.      Further emblematic of the continual gamesmanship being employed by the Debtor,

 counsel conspicuously failed to mention this Motion at yesterday’s Hearing, despite the fact that

 it indisputably knew at the time that it would be filing it hours later (and almost certainly had it

 largely drafted already). Specifically, when counsel for the TCC raised the Debtor’s first pending

 motion to compel as an agenda item during yesterday’s Hearing, the Debtor responded that —

 despite the Debtor having rushed to complete briefing on the motion by filing a reply the day

 before — it was not prepared to go forward with that motion yesterday. 5/30/23 Hr’g Tr. 58:24-

 59:2. It did not so much as even mention its impending new Motion to Compel. Counsel for TCC

 agreed to hearing the first motion on June 2. But what became apparent hours later, is that the

 actual reason for the delay was to enable the Debtor to get its next Motion on file before a ruling

 on the pending one was rendered. The lack of transparency is astounding.

        5.      Finally, the very first swath of discovery the Debtor seeks to compel — discovery

 of unfiled claims held by clients of non-AHC law firms (Mot. at 3) — is discovery that the Court

 declined to order just hours before the Motion was filed and instead, after questioning its relevance,

 suggested should be addressed after the Motion to Dismiss, if the case survives. 5/30/23 Hr’g Tr.

 18:22-25 (questioning relevance), 39:11-25 (“ . . . it’s going to be done without prejudice to the ad

 hoc, the debtor, or any other party in interest requesting, if the case goes forward, beyond the

 motion to dismiss, as part of the plan process, that there be an undertaking similar with respect to

 any claimants for which there are joint representation.”) (emphasis added).




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        6.      This type of (ongoing) gamesmanship, arguably sanctionable, should not be

 countenanced. For all the reasons stated above, the Motion should be summarily denied and

 sanctions should be imposed.

        7.      The Motion likewise fails on its merits. The Debtor first requests a list of unfiled

 claims from only certain plaintiffs law firms. As noted above, the Court has questioned the

 relevance of this information and suggested it should be addressed after the Motion to Dismiss, if

 the case survives. 5/30/23 Hr’g Tr. 18:22-25, 39:11-25. Again revisiting a prior ruling, the Debtor

 makes this request under the guise of seeking information on the total claim pool to enable

 calculation of total talc liability. Mot. at 3. But there are well over a hundred law firms

 representing talc claimants. Yet LTL chose to focus only on ten (in addition to the 15 on the

 AHC). Mot. at 2, 3 n.3. The Debtor’s actions alone betray its purported relevance argument. The

 Court should reject that argument (again).

        8.      Moreover, the AHC apparently itself has not even disclosed all of its unfiled claims.

 According to Mr. Nachawati, he does not believe he included mesothelioma claims on his list for

 the 2019 Statement or the PSAs. Nachawati Dep. Tr. 221:23-222:16, 224:14-19. That is because

 he believes the PSA is just “an agreement to agree” (id. 154:21-155:9) — a vehicle to facilitate

 “coming to a plan that [firms] could support and recommend to the appropriate clients that they

 represent” (id. 153:15-21). But the “Devil is in the details” (id. 154:21-155:9) and there are still

 “issues to work through” (id. 153:15-154:2). Indeed, an agreement may never be reached because

 there are so many details to work through in this “complex” case, and “anything can happen.” Id.

 158:7-11, 172:23-173:14. Counsel for the Law Firm AHC confirmed as much at the Hearing

 yesterday: “Sure, the debtor has a plan on file. As I said at the last hearing, we don't necessarily

 agree with everything that's in it, and we're hard at work with the debtors to try to have an amended



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 plan filed that we do agree with.” 5/30/23 Hr’g Tr. 25:14-18. Among the issues is that a proposed

 plan may not be “appropriate” for all clients of a particular firm. Nachawati Dep. Tr. 153:15-21,

 212:4-8, 213:15-18. Thus, what may be right for ovarian cancer claimants may not be right for

 mesothelioma claimants. Id. 221:23-222:16. As a result, Mr. Nachawati’s firm did not include

 mesothelioma claimants on their claimant lists (filed or unfiled). Id. 221:23-222:16, 224:14-19.

        9.      In addition, until the point at which a claim is filed, a lawyer’s view of whether

 allegations by his client constitute a claim and constitute a claim worthy of filing are plainly

 privileged and otherwise protected. Indeed, those considerations may not even have been made

 yet, and they certainly have not been subjected yet to the safeguards of Rule 11. The fact that the

 Law Firm AHC and PSA signatories decided affirmatively and voluntarily to provide such lists

 for filing with the court (for their own self-interests) has no bearing on the obligations of other

 lawyers to disclose any such information. The same is true as to any firms that chose to respond

 to the question in response to discovery. As an initial matter, those law firms did not sign PSAs

 with, and provide claimant lists to, J&J. Nor did they engage separate counsel to move to intervene

 on their behalf. In any event, their decisions have no bearing the privilege, work product or

 determinations of any other firm. Even the heading in the Motion — requesting “disclosure of the

 number of unfiled talc claims that could be asserted” — on its face leaves no room for doubt that

 the information sought is privileged.

        10.     The remaining two requests are likewise meritless.        The Debtor already has

 received non-privileged answers (to interrogatories and in depositions) as to the factual basis for

 statements that the $8.9 billion proposed distribution is inadequate to compensate victims. It just

 does not like the answers. It is not entitled to any more. As for documents concerning the Debtor’s

 financial distress, the Debtor appears to have been provided with any responsive non-privileged



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 documents that may exist. Its request again amounts to an apparent request for a privilege log,

 which is both ironic and unwarranted. See Obj. to Motion to Compel I (Dkt. 625) ¶¶ 3-4.

                                        CONCLUSION

        For foregoing reasons, the Motion should be denied and appropriate sanctions imposed.

 Dated: June 1, 2023
                                            Respectfully submitted,

                                            GENOVA BURNS, LLC


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